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UNITED STATES DISTRICT COURT                      SOUTHERN DISTRICT OF TEXAS
                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
Nalex Energy, LLC,                        §                                   August 05, 2022
                                          §                                  Nathan Ochsner, Clerk
versus                                    §               Civil Action 4:22−cv−01824
                                          §
Lauritzen Bulkers A/S, et al.             §

                           Order Resetting Conference

1.   The pretrial conference has been reset to:

                                  September 9, 2022
                                    at 10:30 AM

2.   To ensure full notice, whoever receives this notice must confirm that every other
     party knows of the setting.

     Signed on August 5, 2022, at Houston, Texas.
